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  12

  13                             UNITED STATES DISTRICT COURT
  14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15

  16   CORINTHIA MIMS,                            )     Case No.: 5:19-CV-00435-JGB-SP
                                                  )
  17                                              )
                    Plaintiff,                    )     STIPULATION [AND PROPOSED ORDER]
  18                                              )     OF EXTENSION OF TIME FOR
             vs.                                  )     DEFENDANT PRIME CONSULTING LLC
  19                                              )     TO RESPOND TO COMPLAINT
                                                  )
       PRIME CONSULTING LLC d/b/a
  20
       FINANCIAL PREPARATION SERVICES
                                                  )     [Local Rule 144(a)]
                                                  )
  21                                              )
                    Defendant.                    )
  22                                              )
                                                  )
  23                                              )

  24
          WHEREAS Plaintiff CORINTHIA MIMS served the Summons and the Complaint in this
  25

  26
       action on Defendant PRIME CONSULTING LLC d/b/a FINANCIAL PREPARATION

  27   SERVICES on or about March 11, 2019;
  28



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                       STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT
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   1      WHEREAS, the due date for the Defendant’s response to the Complaint, which will be the
   2
       first formal pleading and appearance of Defendant PRIME CONSULTING LLC d/b/a
   3
       FINANCIAL PREPARATION SERVICES in this case has been previously continued in order
   4

   5
       to allow very productive settlement discussions to proceed;

   6
          WHEREAS, Defendant PRIME CONSULTING LLC d/b/a FINANCIAL PREPARATION
   7
       SERVICES requested that Plaintiff extend Defendant’s deadline to respond to the Complaint
   8
       pursuant to Local Rule 144(a), one last time to continue the productive settlement discussions;
   9

  10      WHEREAS, Plaintiff CORINTHIA MIMS consented and stipulated to provide PRIME
  11
       CONSULTING LLC d/b/a FINANCIAL PREPARATION SERVICES with the requested
  12
       extension of time which moves Defendant’s deadline to file a responsive pleading to the
  13

  14
       Complaint as set forth in Rule 12(a) of the Federal Rules of Civil Procedure to Monday, July

  15   15, 2019;
  16
          WHEREAS, the additional time to respond to the Complaint has not been sought or granted
  17
       for purposes of delay.
  18

  19      NOW THEREFORE, Plaintiff CORINTHIA MIMS and Defendant PRIME
  20
       CONSULTING LLC d/b/a FINANCIAL PREPARATION SERVICES, jointly stipulate that
  21
       the deadline for said Defendant to plead or otherwise respond to the Complaint pursuant to
  22

  23
       F.R.C.P. Rule 12 is now July 15, 2019

  24
          IT IS SO STIPULATED:
  25

  26
          Respectfully submitted,

  27
          (SIGNATURE LINES AND PROPOSED ORDER FOLLOW)
  28



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                         STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT
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   1     DATED: June 14, 2019                 BURRIS & SCHOENBERG, LLP
   2

   3                                          By:/s/ Donald S. Burris
                                              Donald S. Burris, Esq
   4                                          Attorneys for Defendant
                                              PRIME CONSULTING LLC
   5                                          d/b/a FINANCIAL PREPARATION
                                              SERVICES
   6

   7

   8     DATED: June 10, 2019                 LAW OFFICE OF TODD M. FRIEDMAN, P.C.

   9
                                              By: /s/ Adrian R. Bacon
  10
                                              Adrian R. Bacon. Esq.
  11                                          Attorneys for Plaintiff
                                              CORINTHIA MIMS
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                     STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT
